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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF INDIANA
                                    NEW ALBANY DIVISION

 IN RE:                                              )        Chapter 11
                                                     )
 EASTERN LIVESTOCK CO., LLC,                         )        Case No. 10-93904-BHL-11
                                                     )
                           Debtor.                   )        Hon. Basil H. Lorch III

                MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                              WITH KENNY OGDEN

                    Pursuant to Federal Rule of Bankruptcy Procedure 9019, James A. Knauer, as

 chapter 11 trustee ("Trustee") for the debtor, Eastern Livestock Co., LLC (the "Debtor"), by

 counsel, hereby files this motion (the "Settlement Motion") requesting the Court's approval of a

 compromise and settlement of claims between the Trustee and Kenny Ogden ("Ogden"). In

 support of this Settlement Motion, the Trustee states as follows:

                                     Introduction and Background

                    1.     Certain petitioning creditors commenced the above-captioned chapter 11

 case (the "Chapter 11 Case") against Debtor on December 6, 2010 by filing an involuntary

 petition for relief under chapter 11 of title 11 of the United States Code. This Court entered the

 Order For Relief in An Involuntary Case and Order to Complete Filing [Dock. No. 110] on

 December 28, 2010.

                    2.     On December 27, 2010, the Court entered the Order Approving the

 Appointment of James A. Knauer as Chapter 11 Trustee [Dock. No. 102], approving the United

 States Trustee's Application for an Order Approving the Appointment of James A. Knauer as

 Chapter 11 Trustee [Dock. No. 98] pursuant to 11 U.S.C. § 1104.

                    3.     On March 23, 2012, the Trustee filed his Adversary Complaint (the

 "Adversary Proceeding") against Ogden as Adversary Proceeding 12-59013.



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                    4.   Based on his investigation, the Trustee has concluded that Ogden owes the

 Debtor $217,219.34 on account of the Debtor's prepetition delivery of cattle to Ogden and as

 evidenced by Debtor's invoice numbers 315116, 315690, 315117 and 315559. Ogden disputes

 that he owes the entire amount reflected in these invoices and has claimed certain defenses and

 offsets.

                    5.   The Trustee and Ogden, in an effort to avoid the significant cost and

 expense of further litigating the disputes and claims set forth above, desire to settle their disputes

 upon the terms and conditions set forth in the Settlement Agreement and Mutual Release

 attached hereto as Exhibit A to this Settlement Motion ("Settlement Agreement")

                                           The Settlement

                    6.   The Trustee requests that the Court approve the Settlement Agreement.

 Pursuant to the Settlement Agreement, Ogden has agreed to pay the Trustee the total amount of

 $171,030.04 (the "Settlement Amount") within five (5) days of this Court's approval and final,

 non-appealable Order.

                                           Basis for Relief

                    7.   Pursuant to Federal Rule of Bankruptcy Procedure 9019, this Court has

 authority to approve a compromise or settlement on motion made by the Trustee after notice and

 opportunity for a hearing.

                    8.   Under Bankruptcy Rule 9019, a bankruptcy court should approve a

 proposed compromise if it is fair and equitable and in the best interests of the estate. See In re

 Doctors Hosp. of Hyde Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007); Depoister v. Mary M.

 Holloway Found, 36 F.3d 582, 586 (7th Cir. 1994); Matter of Energy Co-op, Inc. 886 F.2d 921,

 927 (7th Cir. 1989).



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                    9.     The Trustee believes that the compromise and settlement reflected in the

 proposed Settlement Agreement is fair and equitable and in the best interests of the estate. The

 alternative to the settlement is litigation of the claims between the Debtor and Ogden, which

 would result in expenses and delay and create the possibility of an outcome that would result in a

 smaller recovery to the estate.

                    10.    The Trustee requests the Court to specify in the Settlement Order that the

 Settlement Amount shall be deposited into the Debtor's general operating account, subject to any

 order governing the use of cash collateral by the Trustee.

                    9.     If no objections to this Settlement Motion are filed, the Parties request that

 the Court enter the Settlement Order approving the Settlement Agreement. If any objections to

 this Settlement Motion are filed, the Parties request that this Settlement Motion and any timely

 filed objection be scheduled for hearing by the Court on the earliest date that is available and

 convenient to the Court.

                    WHEREFORE, the Trustee respectfully requests that the Court enter a Settlement

 Order approving the Settlement Agreement attached hereto as Exhibit A and grant the Trustee all

 other just and proper relief.

                                                  Respectfully submitted,

                                                  FAEGRE BAKER DANIELS LLP

                                                  By: /s/ Shawna Meyer Eikenberry

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                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 16, 2012, a copy of the foregoing pleading was filed
 electronically. Notice of this filing will be sent to the following parties through the Court's
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